Case 1:16-cv-05955-PAE Document 167-4 Filed 06/03/20 Page 1 of 3




                EXHIBIT D
                Case 1:16-cv-05955-PAE Document 167-4 Filed 06/03/20 Page 2 of 3


Ament-Stone, Nathaniel

From:                              Ament-Stone, Nathaniel
Sent:                              Friday, May 15, 2020 12:34 PM
To:                                'Jill Manning'; 'Timothy G. Parilla'; 'Walter W. Noss'; Lauer, Eliot; Semmelman, Jacques
Cc:                                Derek Brandt; Allan Steyer; Stephanie Hackett; Todd Schneider; Kyle Bates; Robert J
                                   Palmersheim; Anand C. Mathew; Mrkonic, Matthew G.
Subject:                           RE: External: RE: Ali - Discovery from GIAG and Pacorini Vliss
Attachments:                       2020-05-15 - GIAG AW Vliss Discovery Defs.' Proposal.docx; Proposed GIAG Rule 30(b)
                                   (6) deposition topics (Defs.' edits).docx


Counsel:

We have carefully reviewed your latest discovery proposal; I am attaching our response. In the interest of reaching an
agreement and for settlement purposes only, we have tried to accommodate most of your requests, even though we feel
they go well beyond what is required of GIAG and AW Vlissingen under the Court’s directive for “limited discovery”:

    •   We would offer Robin Scheiner as both an individual and 30(b)(6) deponent, subject to the indicated tweaks to
        your list of 30(b)(6) topics.

    •   We would accept your expanded 2010-2014 date range.

    •   We would accept your edits to the keywords.

    •   We would produce responsive communications between GIAG or AW Vlissingen and Glencore Ltd. or AW USA
        LLC, as a good-faith assurance to you that no relevant emails “fell through the cracks” in earlier Aluminum
        productions.

    •   We would produce the requested data from AW Vlissingen.

    •   For GIAG, we would produce Detroit and Vlissingen aluminum holdings data.

We have recently learned that Peter Waszkis is not and was not an employee of either GIAG or AW Vlissingen.
Therefore, we are removing him as a custodian.

We would produce emails sent to (not received from) Platts, Fastmarkets, and Metal Bulletin. However, we would not
agree to produce communications with nonparties having no relevance to the alleged conspiracy. We would agree to
produce (1) communications with co-defendants or their affiliates, and (2) internal communications referring to
communications with co-defendants or their affiliates. We would not agree to produce data for categories 3 and 4 of the
requests to GIAG. If we were to review hundreds of thousands of emails or more that in no way relate to the alleged
conspiracy, along with collecting data for essentially all worldwide trading activity by a leading global commodities
company over a five-year period—when the operative complaints make sparse allegations about GIAG and AW
Vlissingen—that would transform this discovery from a roughly 4- to 6-week project into a 6-month or longer ordeal, and
would cost many hundreds of thousands of dollars. This would be wildly disproportional to the needs of the case,
involving enormous expense and greatly delaying the Aluminum litigation with no benefit to development of the relevant
facts.

As I said, this offer is made in the interest of compromise and for settlement purposes only. If we do not reach a complete
agreement on discovery, GIAG and AW Vlissingen reserve their rights to advocate for a different, and much narrower,
scope of discovery before Judge Engelmayer, including that discovery should be confined to the new factual allegations in
the amended complaints. We ask that you respond to our proposal by tomorrow evening, so that if we have an agreement,


                                                             1
                     Case 1:16-cv-05955-PAE Document 167-4 Filed 06/03/20 Page 3 of 3
the parties can proceed on that basis, and if not, the parties will have sufficient time to prepare their respective portions of
the joint letter due on Tuesday.

All the best,

Nathaniel Ament-Stone
Associate

Curtis, Mallet-Prevost, Colt & Mosle LLP
101 Park Avenue
New York, New York 10178-0061


nament-stone@curtis.com




     www.curtis.com

       Please consider the
       environment before
       printing this email.




From: Jill Manning [mailto:jmanning@steyerlaw.com]
Sent: Thursday, May 14, 2020 1:02 PM
To: Ament-Stone, Nathaniel; 'Timothy G. Parilla'; 'Walter W. Noss'; Lauer, Eliot; Semmelman, Jacques
Cc: Derek Brandt; Allan Steyer; Stephanie Hackett; Todd Schneider; Kyle Bates; Robert J Palmersheim; Anand C.
Mathew; Mrkonic, Matthew G.
Subject: RE: External: RE: Ali - Discovery from GIAG and Pacorini Vliss

***EXTERNAL EMAIL***
Nathaniel,

Attached are proposed deposition topics for a Rule 30(b)(6) deposition of Glencore International AG.

Jill M. Manning
Steyer Lowenthal Boodrookas
Alvarez & Smith LLP
235 Pine Street, 15th Floor
San Francisco, CA 94104
main: 415.421.3400
direct: 415.743.2824
cell: 415.298.3307
web: www.steyerlaw.com

In compliance with the Public Health directives concerning COVID-19, our attorneys and staff are currently
working remotely from home. During this time, our attorneys and staff have full access to the firm’s email
and telephone message systems. You also may reach me directly by calling my cellular number listed above.

The information contained in this email is confidential, privileged and/or may also contain attorney-client
information or attorney work product. The information is intended only for the use of the individual or entity to
whom it is addressed. If you are not the intended recipient, you are hereby notified that any review, reliance,


                                                                2
